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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                        MDL NO. 2924
   PRODUCT LIABILITY                                                                  20-MD-2924
   LITIGATION
                                                           JUDGE ROBIN L. ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE E.REINHART

                                          /

   This Document Relates to:

   Edward Wilson, Case No. 9:24-CV-80045


                 PLAINTIFF’S NOTICE OF FILING MOTION FOR REMAND
                      AND MEMORANDUM OF LAW IN SUPPORT

          Comes Now Plaintiff, EDWARD WILSON, by and through the undersigned counsel, and

   hereby Notifies this Court that a Motion for Remand and Memorandum of Law in Support were

   filed in this case in the original Court, in the Middle District of Florida, Case No. 8:23-cv-02865,

   on January 12, 2024. This Motion was timely filed within thirty (30) days of the Notice of

   Removal. However, because of the Conditional Transfer Order finalized by the Judicial Panel on

   Multidistrict Litigation, the case was transferred to this Court prior to the Motion being filed. A

   true and accurate file-stamped copy of the Motion for Remand and Memorandum of Law in

   Support, including all exhibits, is attached hereto.

          DATED: January 23, 2024                 Respectfully submitted,


                                                  PARAFINCZUK WOLF, P.A.

                                                  /s/ Justin Parafinczuk
                                                  JUSTIN PARAFINCZUK
                                                  Fla. Bar No. 39898
                                                  Board Certified Civil Trial Attorney
                                                  JParafinczuk@Parawolf.com
                                                  JOHN A. BRUEGGER
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                                              Attorneys for Plaintiff


                                   CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on this 23rd day of January, 2024, I electronically filed the

   foregoing document with the Clerk of Court using CM/ECF which will transmit Notice of

   Electronic Filing to counsel of record.

                                              By: /s/ Justin Parafinczuk




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